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  AO 106 (Rev. 04/10) Application for a Search Warrant                                                                      EC

                                          UNITED STATES DISTRICT COURT
                                                                            for the
                                                                 Southern District of Ohio

                In the Matter of the Search of                                )
            (Briefly describe the property to be searched                     )
 . .         or ide.ptifv the_pe.rJi.on by_ name Qnd gddress).
D191tal Devices ustea m 1-macnmem A, ootainea from Wilham
                                                                        .     )
                                                                              )        Case No.    2:21-mj-658
  Woodward, or his residence located at 220 East Warren
    Street in Cadiz, Ohio, currently in possession of the                     )
  Cincinnati FBI Office located at 2012 Renal Regan Drive                     )
                          in Cincinnati, Ohi~PLICATION FOR A SEARCH WARRANT

          I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
  penalty of perjury that I have reason to believe that on the following person or property (identify theperson or describe the
  property to be searched and give its location):

       See Attachment A, incorporated herein by reference

   located in the - - -
                      Southern
                        -----
                               District of
                                                                   ------ - - - - - - , there is now concealed (identify the
                                                                        Ohio
  person or describe the property to be seized):

       See Attachment B, incorporated herein by reference


             The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                    ii
                     evidence of a crime;
                    ii
                     contraband, fruits of crime, or other items illegally possessed;
                    ,ii( property designed for use, intended for use, or used in committing a crime;
                    0 a person to be arrested or a person who is unlawfully restrained.

             The search is related to a violation of:
                Code Section                                                           Offense Description
           18 U.S.C. §§ 2252, and 2252A                Distribution, transmission, receipt, and/or possession of visual depictions of a
                                                       minor engaged in sexually explicit conduct and/or child pornography

             The application is based on these facts:
           See attached affidavit incorporated herein by reference.

             ii Continued on the attached sheet.
             0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested

                  uncle, 18 U.S.C. § 3103a, the basIB of which is ~=ch~'~d=s=h=e=et::.                       =======::=::...______
                                                                                                    Applicant's signature

                                                                                                  FBI SA Andrew McCabe


   Sworn to before me and signed in my presence.


  Date:         October 12, 2021


  City and state: Columbus, Ohio
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                           UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF omo,
                                  EASTERN DIVISION

IN THE MATTER OF THE SEARCH OF:                                      )        Case No: 2:21-mj-658
                                                                     )
Digital devices as listed in Attachment A that were                  )
obtained from William WOODWARD, or his residence                     )
located at220 East Warren Street in Cadiz, OH,                       )
and are currently in the possession of the Cincinnati FBI,           )      Magistrate Judge: Vascura
located at 2012 Ronald Reagan Drive in Cincinnati, Ohio.             )


                     AFFIDAVIT IN SUPPORT OF SEARCH WARRANT
        I, Andrew D. McCabe, a Special Agent with the Federal Bureau of Investigation (FBI),
being duly sworn, hereby depose and state:


I.      EDUCATION TRAINING AND EXPERIENCE
     1. I am a Special Agent with the FBI assigned to the Cincinnati Division, Cambridge
        Resident Agency and I have been a Special Agent since September 2010. During my
        tenure as an FBI Special Agent, I have investigated numerous crimes including, but not
        limited to, bank robbery, drug trafficking, racketeering, kidnapping, violent extremism,
        and crimes against children.
     2. While performing my duties as a Special Agent, I have participated in various
        investigations involving computer-related offenses and have executed search warrants,
        including those involving searches and seizures of computers, digital media, software, and
        electronically stored information. As part of my duties as a Special Agent, I investigate
        various criminal child exploitation offenses, including those in violation of 18 U.S.C. §§
        2251, 2252, and 2421 et seq.
     3. As a Special Agent, I am authorized to investigate violations of the laws of the United
        States and to execute warrants issued under the authority of the United States.




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II.        PURPOSE OF THE AFFIDAVIT
       4. The facts set forth below are based upon my own personal observations, investigative
          reports, and information provided to me by other law enforcement agents. I have not
          included in this affidavit all information known by me relating to the investigation. I have
          not withheld any evidence or information which would negate probable cause. I have set
          forth only the facts necessary to establish probable cause for a search warrant for the
          content of two digital devices that were seized from the person of William
          WOODWARD or his residence located at 220 E. Warren Street in Cadiz, Ohio 43907
          which are currently held in the custody of the Cincinnati FBI Field Office, located at 2012
          Ronald Reagan Drive in Cincinnati, Ohio 45236 (hereinafter referred to as the SUBJECT
          DEVICES).
       5. The SUBJECT DEVICES to be searched are more particularly described in Attachment
          A, for the items specified in Attachment B, which items constitute instrumentalities, fruits
          and evidence of violations of 18 U.S.C. §§ 2252 and 2252A-the distribution,
          transmission, receipt, and/or possession of visual depictions of minors engaged in sexually
          explicit conduct (hereinafter "child pornography"). I am requesting authority to search the
          entire content of the SUBJECT DEVICES, wherein the items specified in Attachment B
          may be found, and to seize all items listed in Attachment B as instrumentalities, fruits, and
          evidence of crime.


ill.      APPLICABLE STATUTES AND DEFINITIONS
       6. Title 18, United States Code, Section 2252, makes it a federal crime for any person to
          knowingly transport, receive, distribute, possess or access with intent to view any visual
          depiction of a minor engaging in sexually explicit conduct, if such receipt, distribution or
          possession utilized a means or facility of interstate commerce, or if such visual depiction
          has been mailed, shipped or transported in or affecting interstate or foreign commerce.
          This section also prohibits reproduction for distribution of any visual depiction of a minor
          engaging in sexually explicit conduct, if such reproduction utilizes any means or facility
          of interstate or foreign commerce or is in or affecting interstate commerce.
       7. Title 18, United States Code, Section 2252A, makes it a federal crime for any person to
          knowingly transport, receive or distribute any child pornography using any means or
          facility of interstate commerce, or any child pornography that has been mailed, or any

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        child pornography that has shipped or transported in or affecting interstate or foreign
        commerce by any means, including by computer. This section also makes it a federal
        crime to possess or access with intent to view any material that contains an image of child
        pornography that has been mailed, shipped or transported using any means or facility of
        interstate or foreign commerce, or in or affecting interstate commerce by any means,
        including by computer.
    8. The term "child pornography"1, as it is used in 18 U.S.C. § 2252A, is defined pursuant to
        18 U.S.C. § Section 2256(8) as "any visual depiction, including any photograph, film,
        video, picture, or computer or computer generated image or picture, whether made or
        produced by electronic, mechanical, or other means of sexually explicit conduct, where
        (A) the production of such visual depiction involves the use of a minor engaging in
        sexually explicit conduct; (B) such visual depiction is a digital image, computer image, or
        computer-generated image that is, or is indistinguishable from, that of a minor engagtng in
        sexually explicit conduct; or (C) such visual depiction has been created, adapted, or
        modified to appear that an identifiable minor is engaging in sexually conduct.
    9. The term "sexually explicit conduct", is defined pursuant to 18 U.S.C. § 2256(2)(A) as
        "actual or simulated (i) sexual intercourse, including genital-genital, oral-genital, anal-
        genital, or oral-anal, whether between persons of the same or opposite sex; (ii) bestiality;
        (iii) masturbation; (iv) sadistic or masochistic abuse; or (v) lascivious exhibition of the
        genitals or pubic area of any person." Pursuant to 18 U.S.C. § 2256(2)(B), "sexually
        explicit conduct" when used to define the term child pornography, also means "(i) graphic
        sexual intercourse, including genital-genital, oral-genital, anal-genital, or oral-anal,
        whether between persons of the same or opposite sex, or lascivious simulated sexual
        intercourse where the genitals, breast, or pubic area of any person is exhibited; (ii) graphic
        or lascivious simulated; (I) bestiality; (II) masturbation; or (III) sadistic or masochistic
        abuse; or (iii) graphic or simulated lascivious exhibition of the genitals or pubic area of
        any person."
    10. The term "minor", as used herein, is defined pursuant to Title 18, U.S.C. § 2256(1) as
        "any person under the age of eighteen years."



I The term child pornography is used throughout this affidavit. All references to this term in this affidavit
and Attachments A and B, include both visual depictions of minors engaged in sexually explicit conduct as
referenced in 18 U.S.C. § 2252 and child pornography as defined in 18 U.S.C. § 2256(8).
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    11. The term "visual depiction," as used herein, is defined pursuant to Title 18 U.S.C.
        § 2256(5) to "include undeveloped film and videotape, and data stored on computer disk
        or by electronic means which is capable of conversion into a visual image."
    12. "Graphic" when used with respect to a depiction of sexually explicit conduct, means that
        viewer can observe any part of the genitals or pubic area of any depicted person or animal
        during any part of the time that the sexually explicit conduct is being depicted. (18 U.S.C.
        § 2256(10)).
    13. The term "computer"2 is defined in Title 18 U.S.C. § 1030(e)(l) as an electronic,
        magnetic, optical, electrochemical, or other high speed data processing device performing
        logical or storage functions and includes any data storage facility or communications
        facility directly related to or operating in conjunction with such device.
    14. The terms "records," "documents," and "materials," as used herein, include all
        information recorded in any form, visual or aural, and by any means, whether in
        handmade form (such as writings), photographic form (including, but not limited to,
        microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, photocopies),
        mechanical form (such as printing or typing) or electrical, electronic or magnetic form
        (such as any and all digital data files and printouts or readouts from any magnetic,
        electrical, or electronic storage device).
    15. "Internet Service Providers" (ISPs), used herein, are commercial organizations that are in
        business to provide individuals and businesses access to the Internet, web hosting, email,
        remote storage, and co-location of computers and other communications equipment.
    16. "Internet Protocol address" (IP address), as used herein, is a code made up of numbers
        separated by dots that identifies a particular computer on the Internet. Every computer
        requires an IP address to connect to the Internet. IP addresses can be dynamic, meaning
        that the ISP assigns a different unique number to a computer every time it accesses the
        Internet. IP addresses might also be static, if an ISP assigns a user's computer a particular
        IP address which is used each time the computer accesses the Internet.
    17. As it is used throughout this affidavit and all attachments hereto, the term "storage media"
        includes any physical object upon which computer data can be recorded. Examples
        include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and other magnetic or

2
 The term "computer" is used throughout this affidavit to refer not only to traditional laptop and desktop
computers, but also to internet-capable devices such as cellular phones and tablets. Where the capabilities
of these devices differ from that of a traditional computer, they are discussed separately and distinctly.
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                       optical media.


               IV. BACKGROUND REGARDING DIGITAL .DEVICES, THE INTERNET AND MOBILE
                   APPLICATIONS

                   18. I know from my training and experience that computer hardware, computer software, and
                       electronic files ("objects") may be important to criminal investigations in two distinct ways:
                       (1) the objects themselves may be evidence, instrumentalities, or fruits of crime, and/or (2)
                       the objects may be used as storage devices that contain contraband, evidence,
                      instrumentalities, or fruits of crime in the form of electronic data. Rule 41 of the Federal
                      Rules of Criminal Procedure permits the government to search for and seize computer
                      hardware, software, and electronic files that are evidence of a crime, contraband, and
                      instrumentalities and/or fruits of crime.
                   19. Computers, mobile devices and the Internet have revolutionized the ways in which those
                      with a sexual interest in children interact with each other and with children they seek to
                      exploit. These new technologies have provided ever-changing methods for exchanging
                      child pornography and communicating with minors. Digital technology and the Internet
                      serve four functions in connection with child pornography and child exploitation:
                      production, communication, distribution, and storage.
                   20. Computers, tablets and smart/cellular phones ("digital devices") are capable of storing and
                      displaying photographs. The creation of computerized or digital photographs can be
                      accomplished with several methods, including using a "scanner," which is an optical device
                      that can digitize a photograph. Another method is to simply take a photograph using a
                      digital camera or cellular phone with an onboard digital camera, which is very similar to a
                      regular camera except that it captures the image in a computerized format instead of onto
                      film. Such computerized photograph files, or image files, can be known by several file
                      names including AGIF@ (Graphic Interchange Format) files, or "JPG/JPEG" (Joint
                      Photographic Experts Group) files.
                   21. Digital devices are also capable of storing and displaying movies of varying lengths. The
                      creation of digital movies can be accomplished with several methods, including using a
                      digital video camera (which is very similar to a regular video camera except that it captures
                      the image in a digital format which can be transferred onto the computer). Such
                      computerized movie files, or video files, can be known by several file names including

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   "MPG/MPEG" (Moving Pictures Experts Group) files.
22. The capability of digital devices to store images in digital form makes them an ideal
   repository for child pornography. A single CD, DVD, or USB thumb drive can store
   hundreds or thousands of image files and videos. It is not unusual to come across USB
   thumb drives that are as large as 32GB. The size of hard drives and other storage media that
   are used in home computers and cellular phones have grown tremendously within the last
   several years. Hard drives with the capacity of several terabytes are not uncommon. These
   drives can store hundreds of thousands of images and videos at very high resolution. Tablet
   devices have average storage capabilities ranging from 4 Gigabytes to 256 Gigabytes. In
   addition, most tablets have the ability to utilize the various drives (thumb, jump or flash)
   described above, which can allow a user to access up to an additional 256 Gigabytes of
   stored data via the tablet. Modem cell phones have average storage capabilities ranging
   from 4 Gigabytes to 128 Gigabytes. In addition, most cellular phones have the ability to
   utilize micro SD cards, which can add up to an additional 128 Gigabytes of storage. Media
   storage devices and cellular phones can easily be concealed and carried on an individual's
   person. Mobile computing devices, like cellular phones and tablets, also have the ability to
   take still and moving images that are easily stored, manipulated or transferred between
   devices using software or applications installed on each device. Additionally, multiple
   devices can be synced to a single account and when an image or video file is transferred, it
   can be transferred to all devices synced to the account at the same time. As a result of this
   technology, it is relatively inexpensive and technically easy to produce, store and distribute
   child pornography. Magnetic storage located in host computers adds another dimension to
   the equation. It is possible to use a video camera to capture an image, process that image in
   a computer with a video capture board, and to save that image by storing it in another
   country. Once this is done, there is no readily apparent evidence at the scene of the crime.
   Only with careful laboratory examination of electronic storage devices is it possible to
   recreate the evidence trail.
23. The Internet is a worldwide network of computer systems operated by gove~ental
   entities, corporations, and universities. With a computer or mobile device connected to the
   Internet, an individual user can make electronic contact with millions of other computer or
   mobile device users around the world. Many individual computer/mobile device users and
   businesses obtain their access to the Internet through businesses known as Internet Service

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        Providers ("ISPs"). ISPs provide their customers with access to the Internet using wired
        telecommunications lines, wireless signals commonly known as Wi-Fi, and/or cellular
        service; provide Internet e-mail accounts that allow users to communicate with other
        Internet users by sending and receiving electronic messages through the ISPs' servers or
        cellular network; remotely store electronic files on their customers' behalf; and may provide
        other services unique to each particular ISP. ISPs maintain records pertaining to the
        individuals or companies that have subscriber accounts with the ISP. Those records may
        include identifying and billing information, account access information in the form of log
        files, e-mail transaction information, posting information, account application information,
        Internet Protocol ("IP") addresses 3 and other information both in computer data format and
        in written record format.
    24. These internet-based communication structures are ideal for those seeking to find others
        who share a sexual interest in children and child pornography or seeking to exploit children
        online. Having bpth open as well as anonymous communication capability allows the user
        to locate others of similar inclination and still maintain their anonymity. Once contact has
        been established, it is then possible to send messages and graphic images to other trusted
        child pornography collectors or to vulnerable children who may not be aware of the user's
        true identity. Moreover, the child pornography collector need not use large service
        providers. Child pornography collectors can use standard Internet connections, such as
        those provided by businesses, universities, and government agencies, to communicate with
        each other or with children, and to exchange child pornography. These communication
        links allow contacts around the world as easily as calling next door. Additionally, these
        communications can be quick, relatively secure, and as anonymous as desired.
    25. It is often possible to recover digital or electronic files, or remnants of such files, months or
        even years after they have been downloaded onto a hard drive or other digital device,
        deleted, or viewed via the Internet. Such files can be stored for years at little or no cost.
        Even when such files have been deleted, they can be recovered months or even years later


3 The IP address is a unique numeric address used by computers on the Internet. An IP address looks like
a series of four numbers, each in the range of 0-255, separated by periods (e.g., 121.56.97.178). Every
computer attached to the Internet must be assigned an IP address so that Internet traffic sent from and
directed to that computer may be directed properly from its source to its destination. Most ISPs control a
range of IP addresses. When mobile devices connect to the Internet they are assigned an IP address either
by the residential/commercial WiFi ISP or the cellular ISP. The IP address assignments are controlled by
the respective provider.
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   using readily available forensic tools. When a person "deletes" a file from a digital device,
   the data contained in the files does not actually disappear; rather the data remains on the
   device until it is overwritten by new data. Therefore, deleted files, or remnants of deleted
   files, may reside in free space or slack space - that is, space on a storage medium that is not
   allocated to a set block of storage space - for long periods of time before they are
   overwritten. In addition, a computer's operating system may also keep a record of deleted
   data in a "swap" or "recovery" file.
26. Similarly, files that have been viewed via the Internet are automatically downloaded into a
   temporary Internet directory or "cache." The browser typically maintains a fixed amount of
   hard drive space devoted to these files, and the files are only overwritten as they are
   replaced with more recently viewed Internet pages. Thus, the ability to retrieve residue of
   an electronic file from a hard drive depends less on when the file was downloaded or viewed
   than on a particular user's operating system, storage capacity, and computer habits.
27. As is the case with most digital technology, communications by way of computer or mobile
   devices can be saved or stored on the computer or mobile device used for these purposes.
   Storing this information can be intentional, i.e., by saving an e-mail as a file on the
   computer or mobile device, or saving the location of one's favorite websites in, for example,
   "bookmarked" files. Digital information can also be retained unintentionally, e.g., traces of
   the path of an electronic communication may be automatically stored in many places, such
   as temporary files or ISP client software, among others. In addition to electronic
   communications, a computer user's Internet activities generally leave traces or "footprints"
   in the web cache and history files of the browser used. Such information is often
   maintained indefinitely until overwritten by other data.
28. A growing phenomenon related to smartphones and other mobile computing devices is the
   use of mobile applications. Mobile applications, also referred to as "apps," are small,
   specialized programs downloaded onto mobile devices that enable users to perform a variety
   of functions, including engaging in online chat, reading a book, or playing a game.
   Examples of such "apps" include Facebook Messenger, Text Now, KIK messenger service,
   and Instagram.
29. Searching computer systems and electronic storage devices may require a range of data
   analysis techniques. Criminals can mislabel or hide files and directories, encode
   communications, attempt to delete files to evade detection, or take other steps to frustrate

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        law enforcement searches. In light of these difficulties, your affiant requests permission to
        use whatever data analysis techniques appear necessary to locate and retrieve the evidence
        described in Attachment B.


V.      SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS
     30. Searches and seizures of evidence from computers commonly require agents to download
        or copy information from the computers and their components or seize most or all
        computer items (computer hardware, computer software, and computer related
        documentation) to be processed later by a qualified computer expert in a laboratory or
        other controlled environment. This is almost always true because of the following:
          a) Computer storage devices (like hard disks, diskettes, tapes, laser disks, magneto
              opticals, and others) can store the equivalent of thousands of pages of information.
              Especially when the user wants to conceal criminal evidence, he or she often stores it
              in random order with deceptive file names. This requires searching authorities to
              examine all the stored data to determine whether it is included in the warrant. This
              sorting process can take days or weeks, depending on the volume of data stored, and
              it would be generally impossible to accomplish this kind of data search on site; and
          b) Searching computer systems for criminal evidence is a highly technical process
              requiring expert skill and a properly controlled environment. The vast array of
              computer hardware and software available requires even computer experts to
              specialize in some systems and applications, so it is difficult to know before a search
              which expert should analyze the system and its data. The search of a computer
              system is an exacting scientific procedure which is designed to protect the integrity
              of the evidence and to recover even hidden, erased, compressed, password-protected,
              or encrypted files. Since computer evidence is extremely vulnerable to tampering or
              destruction (which may be caused by malicious code or normal activities of an
              operating system), the controlled environment of a laboratory is essential to its
              complete and accurate analysis.
     31. In order to fully retrieve data from a computer system, the analyst needs all magnetic
        storage devices as well as the central processing unit (CPU) as well as all the system
        software (operating systems or interfaces, and hardware drivers) and any applications
        software, which may have been used to create the data (whether stored on hard drives or
        on external media).
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VI. INVESTIGATION AND PROBABLE CAUSE
  32. On September 23, 2021, Witness One contacted the Cadiz Police Department (CPD) to
     make a report regarding a child exploitation offense. More specifically, Witness One
     indicated that the night before, on September 22, 2021, Witness One had observed
     William WOODWARD using a laptop computer to view a video of a young child
     preforming sexual acts. Witness One indicated that he/she was at WOODWARD's
     residence, located at 220 East Warren Street in Cadiz, Ohio when he/she went to knock on
     WOODWARD's bedroom door. Witness One observed that the bedroom door was open
     and observed WOODWARD masturbating to a video containing child pornography which
     Witness One estimated to depict an approximately nine-year-old child.
  33. Based on this information, CPD officers relocated to WOODWARD's residence on
     September 23, 2021. WOODWARD answered the door and agreed to speak with law
     enforcement outside. CPD informed WOODWARD that they were following up with a
     complaint involving WOODWARD's child exploitation activities and asked
     WOODWARD if he had a laptop computer. WOODWARD admitted to owning a
     computer and gave the officers consent to enter his residence. WOODWARD took the
     officers to his bedroom where he voluntarily turned over a Gateway Laptop Computer and
     Black LG Cellular Telephone, the SUBJECT DEVICES. WOODWARD made a
     statement to CPD that "[CPD] knew what was going to be on them," indicating to law
     enforcement that WOODWARD was confirming the presence of child pornography on the
     SUBJECT DEVICES.
  34. WOODWARD was subsequently placed under arrest for Pandering Sexually Oriented
     Matter Involving a Minor in violation of Ohio Revised Code Section2907.321 and
     advised of his Miranda Rights. Law enforcement then transported WOODWARD to the
     Cadiz Police Department for a further interview. At the Cadiz Police Department,
     WOODWARD was advised of his Miranda Rights a second time and signed a waiver on
     September 23, 2021 at 9:35am indicating his intent to waive those rights. WOODWARD
     was then interviewed by CPD and that interview was recorded both audially and visually.
     A copy of that interview was provided to your affiant.
  35. During the interview with CPD, WOODWARD admitted to having images of minor girls
     on the SUBJECT DEVICES and further admitted to viewing videos of minor females

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    engaged in sex acts. WOODWARD also indicated that the videos he viewed depicted
    minor females as young as approximately ten years old engaging in sexual acts.
 36. In that same interview, WOODWARD provided the password of both SUBJECT
    DEVICES to law enforcement. When CPD entered WOODWARD's password into the
    Gateway Laptop to ensure it was correct, they immediately observed a video on the laptop
    screen which depicted a naked prepubescent female. The video was titled, "2010-9TO-
    SUZIQ-COMPIL-FUCKS-PUSSY-ON-TABLE-VEWRS-SOUND-HQ-11M52S-MKV.
    Law enforcement took five photos of the video observed on the Gateway Laptop and
    provided them to your affiant. The images are described as follows:
       •   Image One and Image Two depicted a prepubescent female minor, approximately
           nine years old (hereinafter Minor Victim), with her nude breasts exposed wearing
           white panties standing in front of what appears to be a table and chair.
       •   Image Three depicted Minor Victim nude kneeling on a table while her anus is
           being digitally penetrated by an unknown individual.
       •   Image Four depicts Minor Victim nude photographed from the front standing on
           the floor in front of the table with her breasts and pubic region exposed.
       •   Image Five depicts Minor Victim sitting on a table naked engaged in masturbation.
           More specifically, Minor Victim is observed digitally penetrating her vagina.
37. On September 23, 2021, your affiant was contacted by CPD as it relates to the
    investigation of WOODWARD and the forensic analysis of SUBJECT DEVICES. On
    September 29, 2021, your affiant was briefed on the investigation of WOODWARD as
   conducted thus far by CPD. Your affiant also took possession of the SUBJECT
   DEVICES which are now currently stored at the Cincinnati FBI Field Office Evidence
    Control Room located at 2012 Ronald Reagan Drive in Cincinnati, Ohio 45236.
38. Your affiant further confirmed that on September 22, 2015, WOODWARD pled guilty to
   two counts of Pandering Sexually Oriented Matter Involving a Minor pursuant to ORC
   2907.322(A)(l) and two counts of Pandering Sexually Oriented Matter Involving a Minor
   pursuant to ORC 2907.322(A)(2), all felonies in the second degree. WOODWARD was
   convicted of these charges in Harrison County, Ohio. According to state records from the
   case, WOODWARD admitted to reproducing and disseminating images of child
   pornography. WOODWARD was sentenced to three years of incarceration and was



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       classified as a Tier II sex offender. WOODWARD was released from custody on or about
       June 21, 2016 and completed two years of adult probation on or about June 21, 2018.
   39. All the SUBJECT DEVICES listed in Attachment A were seized from the person or
       residence of WOODWARD. The SUBJECT DEVICES were then transported to the
       Cadiz Police Department in Cadiz, Ohio and have remained in law enforcement custody
       since the time they were seized. No forensic examination of the SUBJECT DEVICES
       has been completed thus far and that the SUBJECT DEVICES remain in the same state,
       for purposes of this investigation, as they were at the time they were seized.
   40. Based on the information that had been gathered to date by CPD, combined with your
       affiant's belief that WOODWARD likely possesses the characteristics common to
       individuals with a sexual interest in minors, as described below, your affiant believes that
       there is probable cause that the SUBJECT DEVICES contain evidence of
       WOODWARD's child pornography and child exploitation activities.


VII.   SEARCH METHODOLOGY TO BE EMPLOYED
   41. Nature of examination. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the
       warrant I am applying for would permit the examination of the SUBJECT DEVICES
       consistent with the warrant. The examination may require authorities to employ
       techniques, including but not limited to computer-assisted scans, downloading or copying
       of the entire device, that might expose many parts of the device to human inspection in
       order to determine whether it is evidence described by the warrant. Specifically, such
       techniques may include, but are not limited to:
          •   Examination of all of the data contained in any computer hardware, computer
              software, and/or memory storage devices to view the data and determine whether
              that data falls within the items listed in Attachment B;
          •   Searching for and attempting to recover any deleted, hidden, or encrypted data to
              determine whether that data falls within the list of items in Attachment B;
          •   Surveying various files, directories and the individual files they contain;
          •   Opening files in order to determine their contents;
          •   Scanning storage areas;
          •   Performing key word searches through all electronic storage areas to determine
              whether occurrences of language contained in such storage areas exist that are

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             likely to appear in the evidence described in Attachment B; and/or
         •   Performing any other data analysis technique that may be necessary to locate and
             retrieve the evidence described in Attachment B.
  42. Manner of execution. Because this warrant seeks only permission to examine devices
     already in law enforcement's possession, the execution of this warrant does not involve
     the physical intrusion onto a premises. Consequently, I submit there is reasonable cause
     for the Court to authorize execution of the warrant at any time in the day or night.


VIII. COMMON CHARACTERISTICS OF INDIVIDUALS WITH A SEXUAL
      INTEREST IN CIDLDREN

  43. Based on my own knowledge, experience, and training in child exploitation and child
     pornography investigations, and the training and experience of other law enforcement
     officers with whom I have had discussions, there are certain characteristics common to
     individuals who have a sexual interest in children and who produce, distribute, and receive
     child pornography:
          a) Those who have a sexual interest in children and who produce, distribute, and
             receive child pornography may receive sexual gratification, stimulation, and
             satisfaction from contact with children; or from fantasies they may have viewing
             children engaged in sexual activity or in sexually suggestive poses, such as in
             person, in photographs, or other visual media; or from literature describing such
             activity.
          b) Those who have a sexual interest in children and who produce, distribute, and
             receive child pornography may collect sexually explicit or suggestive materials, in
             a variety of media, including photographs, magazines, motion pictures, video
             tapes, books, slides and/or drawings or other visual media. Child pornography
             collectors oftentimes use these materials for their own sexual arousal and
             gratification. Further, they may use these materials to lower the inhibitions of
             children they are attempting to seduce, to arouse the selected child partner, or to
             demonstrate the desired sexual acts.
         c) Those who have a sexual interest in children and who produce, distribute, and
             receive child pornography often times possess and maintain any "hard copies" of
             child pornographic material that may exist, that is, their pictures, films, video

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            tapes, magazines, negatives, photographs, correspondence, mailing lists, books,
            tape recordings, etc., in the privacy and security of their home or some other
             secure location. These individuals typically retain pictures, films, photographs,
            negatives, magazines, correspondence, books, tape recordings, mailing lists, child
            erotica, and video tapes for many years. More recently, however, it has become
            more common for people who have a sexual interest in children to download,
            view, then delete child pornography on a cyclical and repetitive basis, and to
            regularly delete any communications about the sexual abuse of children rather
            than storing such evidence on their computers or digital devices. Traces of such
            activity can often be found on such people's computers or digital devices, for
            months or even years after any downloaded files have been deleted.
         d) Likewise, those who have a sexual interest in children and who produce,
            distribute, and receive child pornography often maintain their collections that are
            in a digital or electronic format in a safe, secure, and private environment, such as
            a computer and surrounding area. These collections are often maintained for
            several years and are kept close by, usually at the collector's residence, to enable
            the collector to view the collection, which is valued highly.
         e) Those who have a sexual interest in children and who produce, distribute, and
            receive child pornography also may correspond with and/or meet others to share
            information and materials; rarely destroy correspondence from other child
            pornography distributors/collectors; conceal such correspondence as they do their
            sexually explicit material; and sometimes maintain lists of names, addresses, and
            telephone numbers of individuals with whom they have been in contact and who
            share the same interests in child pornography.
         f) Those who have a sexual interest in children and who produce, distribute, and
            receive child pornography rarely are able to abstain from engaging in sexual
            exploitation of children or child pornography activities for any prolonged time
            period. This behavior has been documented by law enforcement officers involved
            in the investigation of child pornography offenders throughout the world.
 44. When images and videos of child pornography are produced and stored on computers and
    related digital media, forensic evidence of the production, distribution, saving, and storage



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       of such evidence may remain on the computers or digital media for months or even years
       even after such images and videos have been deleted from the computers or digital media.
   45. Based upon the conduct of individuals who have a sexual interest in children and who
       produce, distribute, and receive child pornography set forth in the above paragraphs,
       namely, that they tend to maintain their collections.at a secure, private location for long
       periods of time, that they rarely are able to abstain from child pornography activities for a
       prolonged period of time, and that forensic evidence of the downloading, saving, and
       storage of such evidence may remain on the computers or digital media for months or
       even years even after such images and videos have been deleted from the computers or
       digital media, there is probable cause to believe that evidence of violations of 18 U.S.C.
       §§ 2252, and 2252A- the distribution, transmission, receipt, and/or possession of child
       pornography, is currently located on the SUBJECT DEVICES.


IX. CONCLUSION
   46. Based on all the forgoing factual information, there is probable cause to believe that
       violations of 18 U.S.C. §§ 2252, and 2423 - the distribution, transmission, receipt, and/or
       possession of child pornography, have been committed and that evidence, fruits and
       instrumentalities of these offenses will be found within the SUBJECT DEVICES listed in
       Attachment A, which is incorporated herein by reference.              Your affiant therefore
       respectfully requests that the Court issue a search warrant authorizing the search of the
       SUBJECT DEVICES described in Attachment A, and the seizure of the items described
       in Attachment B.

                                     d~--
                                       Andrew D. McCabe
                                       Special Agent
                                       Federal Bureau of Investigation

                                       12th day of October 2021 .
Sworn to and subscribed before me this ___


                 .U ~
Chelsey     Vascura
United States Magistrate Judge
United States District Court
Southern District of Ohio

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                                      ATTACHMENT A
                          PROPERTY TO BE TO BE SEARCHED


The devices to be searched are the following:
           1. One Gateway Laptop Computer, serial number NUUWZMAA004221216BE7614;
           2. One Black LG Cellular Telephone.


The items described above were seized from the person WOODWARD or his residence located at
220 East Warren Street in Cadiz, Ohio and are currently being held at the Cincinnati FBI Office
located at 2012 Ronald Reagan Drive in Cincinnati, Ohio 45236.

This warrant authorize.s the forensic examination of the SUBJECT DEVICES for the purpose of
identifying the electronically stored information described in Attachment B.




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                                       ATTACHMENT B
                               LIST OF ITEMS TO BE SEIZED


The following materials which constitute evidence of the commission ofa criminal offense,
contraband, the fruits of crime, or property designed or intended for use or which is or has been
used as the means of committing a criminal offense, namely violations of 18 U.S.C. §§ 2252 and
2252A - the distribution, transmission, receipt, and/or possession of child pornography, those
violations involving William WOODWARD, including:

  1. Any and all computer software, including programs to run operating systems, applications

     (such as word processing, graphics, or online storage or chat programs), utilities, compilers,

     interpreters, and communications programs.

 2. Any and all notes, documents, records, or correspondence, in any format and medium

     (including, but not limited to, e-mail messages, chat logs, and electronic messages,)

     pertaining to the production, possession, receipt, or distribution of child pornography.

 3. In any format and medium, all originals, computer files, copies, and negatives of child

     pornography and child erotica, including photographs of children that are not sexually

     explicit, drawings, sketches, fantasy writings, diaries, and sexual aids.

 4. Any and all notes, documents, records, or correspondence, in any format or medium

     (including, but not limited to digital files, e-mail messages, chat logs and electronic

     messages), identifying persons transmitting, through interstate or foreign commerce by any

     means, including, but not limited to, by U.S. mail or by cellular phone or computer, any

     child pornography.

 5. Any and all notes, documents, records, or correspondence, in any format or medium

     (including, but not limited to, e-mail messages, chat logs and electronic messages, and other

     digital data files) concerning communications related to the sexual abuse or exploitation of

     mmors.




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6. Any and all records, documents, invoices and materials, in any format or medium (including,

   but not limited to, envelopes, letters, papers, e-mail messages, chat logs and electronic

   messages, and other digital data files) that concern any accounts with an Internet Service

   Provider or Electronic Communications Service.

7. Any and all files, documents, records, or correspondence, in any format or medium

   (including, but not limited to, network, system, security, and user logs, databases, software

   registrations, data and meta data), that concern user attribution information.

8. Any and all visual depictions of minors, whether clothed or not, for comparison to any child

   pornography or child erotica found during the execution of this search warrant or obtained

   during the course of this investigation.

9. Any and all diaries, notebooks, notes, and any other records reflecting personal contact and

   any other activities with minors visually depicted while engaged in sexually explicit

   conduct.

10. Any Internet or cellular telephone communications (including email, social media, online

   chat programs, etc.) with others in which child exploitation materials and offenses are

   discussed, posted, and/or traded;

11. Any Internet or cellular telephone communications (including email, social media, etc.) with

   minors;

12. Evidence of the utilization of peer-to-peer file sharing programs;

13. Evidence of utilization of user names or aliases, email accounts, social media accounts, and

   online chat programs, and usernames, passwords, and records related to such accounts;

14. Evidence of software that would allow others to control the SUBJECT DEVICES, such as

   viruses, Trojan horses, and other forms of malicious software, as well as evidence of the




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     presence or absence of security software designed to detect malicious software and evidence

     of the lack of such malicious software;

  15. Evidence indicating the computer user's state of mind as it relates to the crimes under

     investigation;

  16. Evidence that any of the SUBJECT DEVICES were attached to any other digital device or

     digital storage medium;

  17. Evidence of counter-forensic programs (and associated data) that are designed to eliminate

     data from the SUBJECT DEVICES;

  18. Passwords, encryption keys, and other access devices that may be necessary to access the

     SUBJECT DEVICES;

  19. Records of or information about Internet Protocol addresses used by the SUBJECT

     DEVICES;

 20. Records of or information about any Internet activity occurring on the SUBJECT

     DEVICES, including firewall logs, caches, browser history and cookies, "bookmarked" or

     "favorite" web pages, search terms that the user entered into any Internet search engine, and

     records of user-typed web addresses;


       This warrant authorizes a review of electronic storage media and electronically stored
information seized or copied pursuant to this warrant in order to locate evidence, fruits, and
instrumentalities described in this warrant. The review of this electronic data may be conducted
by any government personnel assisting in the investigation, who may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, and
technical experts. Pursuant to this warrant, HSI may deliver a complete copy of the seized or
copied electronic data to the custody and control of attorneys for the government and their support
staff for their independent review.




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